Case 18-14600-MBK          Doc 16 Filed 03/14/18 Entered 03/15/18 00:36:28                         Desc Imaged
                                Certificate of Notice Page 1 of 2


                                  UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF NEW JERSEY

      IN THE MATTER OF:

      Princeton Alternative Funding, LLC                                 : Case No. 17-10509
                                                                                    05-47425 MBK
                                                                                    18-14600

          Richard Suhr
          Sisters  Homeand Center,
                           Cheryl Suhr
                                    LLC

                                                         :
                                                        Chapter 11

                                     NOTICE OF STATUS CONFERENCE


         T h e co u rt w ill ho ld a status con feren ce o n :   April 2, 2018
                                                                 10/16/2006
                                                                 February  27, at 1:00
                                                                               2017  at P.M.
                                                                                        11:00 am
                                                                 Courtroom # 
                                                                 US Bankruptcy Court
                                                                 Federal Courthouse
                                                                 402 E. State St.
                                                                 Trenton NJ 08608

         The purpose of the meeting will be to discuss case management issues.

         The debtor is requested to notify all parties in interest who it anticipates will play a
      major role in this case including all secured creditors, creditors committee members and
      the United States Trustee. All parties interested in this case are requested to attend.


                                         ATTENDANCE IS REQUIRED.


         Thank you for your cooperation.

                                           JEANNE
                                          JAMES    NAUGHTON CLERK
                                                J. WALDRON,
                                          UNITED STATES BANKRUPTCY COURT


      Copy served to: A ttorn ey for D ebtor and U .S . Trustee.

                                                   Wendy  Romero
                                                   Susan Fiefhaus
                                                   D eputy Clerk
        Case 18-14600-MBK              Doc 16 Filed 03/14/18 Entered 03/15/18 00:36:28                               Desc Imaged
                                            Certificate of Notice Page 2 of 2
                                               United States Bankruptcy Court
                                                  District of New Jersey
In re:                                                                                                     Case No. 18-14600-MBK
Princeton Alternative Funding LLC                                                                          Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0312-3                  User: admin                        Page 1 of 1                          Date Rcvd: Mar 12, 2018
                                      Form ID: pdf900                    Total Noticed: 2


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 14, 2018.
db              Princeton Alternative Funding LLC,   100 Canal Pointe Blvd,   Ste 208,
                 Princeton, NJ 08540-7063

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
intp           +E-mail/Text: philip_burgess@microbilt.com Mar 13 2018 00:00:33     MicroBilt Corporation,
                 100 Canal Pointe Boulevard, Suite 208,   Princeton, NJ 08540-7063
                                                                                            TOTAL: 1

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 14, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 12, 2018 at the address(es) listed below:
              Derek J. Baker   on behalf of Interested Party    MicroBilt Corporation dbaker@reedsmith.com
              U.S. Trustee   USTPRegion03.NE.ECF@usdoj.gov
              Valerie A. Hamilton   on behalf of Debtor    Princeton Alternative Funding LLC
               vhamilton@sillscummis.com, g8360@notify.cincompass.com
                                                                                             TOTAL: 3
